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 TREX-04248                          6/23/11    Macondo Well Incident, Transocean Investigation Report, Volume I              Rimkus
 TREX-04304                          6/23/11    Macondo Well Incident, Transocean Investigation Report, Volume II             Rimkus
                                                Expert Report of Robert M. Scates, Ph. D and John S. Roberts, Ph. D. -
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TREX-50002.02                                   Gas Dispersion Model, Page 7                                                  Rimkus
                                                Attachment A to Scates/Roberts Expert Report - Results of Gas Dispersion
TREX-50002.03                        9/23/11    Modeling                                                                      Rimkus
TREX-50002.04                        9/23/11    Attachment B to Scates/Roberts Expert Report - Wind Measurements              Rimkus
                                                Attachment C to Scates/Roberts Expert Report - Vented Hydrocarbon
TREX-50002.05                        9/23/11    Composition                                                                   Rimkus
                                                Attachment D to Scates/Roberts Expert Report - Total Emission Flow and
TREX-50002.06                        9/23/11    Emission Point Flow Distribution                                              Rimkus
                                                Attachment E to Scates/Roberts Expert Report - Supply and Exhaust Fan
TREX-50002.07                        9/23/11    Flows                                                                         Rimkus

TREX-50002.08                        9/23/11    Attachment F to Scates/Roberts Expert Report - Location of Individuals        Rimkus

TREX-50002.09                        9/16/11    Attachment G to Scates/Roberts Expert Report - Hazard Ratings of Areas        Rimkus
                                                Attachment H to Scates/Roberts Expert Report - Location of Combustible
TREX-50002.10                        9/23/11    Gas Sensors                                                                   Rimkus

TREX-50002.11                        9/23/11    Attachment I to Scates/Roberts Expert Report - Location of Air Intakes        Rimkus
                                                Attachment J to Scates/Roberts Expert Report - Wartsila Document
TREX-50002.12                        9/23/11    Regarding Engine Overspeed Devices                                            Rimkus
                                                Attachment K to Scates/Roberts Expert Report - Damage to Each Deck as
TREX-50002.13                        9/23/11    Documented by Deepwater Horizon Personnel                                     Rimkus
TREX-50002.14                        9/23/11    Curriculum Vitae of Robert M. Scates, Ph.D                                    Rimkus
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TREX-50198      TRN-INV-00401999               7/26/00         Photo: 7-26-00 stbd main diverter and C&K diverter lines                       Rimkus
TREX-50199      TRN-INV-00402004               8/29/00         Photo: 8-29-00 mini trip tank in place                                         Rimkus
TREX-50200      TRN-INV-00402000               9/18/00         Photo: 9-18-00 stbd div ovrbd & c&k ovrbds                                     Rimkus
TREX-50201      TRN-INV-00402001                9/6/00         Photo: 9-6-00 stbd diverter ovrbd lines 01- lkg aft                            Rimkus
TREX-50202      TRN-INV-00402086                               Photo: dee's pictures 023                                                      Rimkus
TREX-50203      TRN-INV-00402123               6/15/05         Photo: DEEP WATER HORIZON JUNE 15, 2005 022                                    Rimkus
TREX-50204      TRN-INV-00402088               6/15/05         Photo: DEEP WATER HORIZON JUNE 15, 2005 024                                    Rimkus
TREX-50205      TRN-INV-00384926                1/1/01         Photo: DSCN2595                                                                Rimkus



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TREX-50206      TRN-INV-00795445                           Photo: DWH Aft_Starboard.3                                                  Rimkus
TREX-50207      TRN-INV-00795108                           Photo: Gumbo Box Camera                                                     Rimkus
TREX-50208      TRN-INV-00402116               3/5/01      Photo: Sackrm 3-05-01                                                       Rimkus
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TREX-50212      TRN-INV-00570394                           Drawing Number HRBS-H68-000-H1010-2                                         Rimkus
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TREX-50213      TRN-INV-00570396                           Drawing Number HRBS-H68-000-H1010-3                                         Rimkus
                TRN-INV-00570397 -                         Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50214      TRN-INV-00570398                           Drawing Number HRBS-H68-000-H1010-4                                         Rimkus
                TRN-INV-00570399 -                         Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50215      TRN-INV-00570400                           Drawing Number HRBS-H68-000-H1010-5                                         Rimkus
                TRN-INV-00570401 -                         Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50216      TRN-INV-00570402                           Drawing Number HRBS-H68-000-H1010-6                                         Rimkus
                TRN-INV-00570403 -                         Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50217      TRN-INV-00570404                           Drawing Number HRBS-H68-000-H1010-7                                         Rimkus
                TRN-INV-00570405 -                         Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50218      TRN-INV-00570406                           Drawing Number HRBS-H68-000-H1010-8                                         Rimkus
                TRN-INV-00570407 -                         Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
TREX-50219      TRN-INV-00570408                           Drawing Number HRBS-H68-000-H1010-9                                         Rimkus
                TRN-INV-00345151 -                         Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys.,
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TREX-50221      TRN-INV-00570388                           Drawing Number HRBS-H68-000-H1010-11                                        Rimkus
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TREX-50223      TRN-INV-00570392                           Drawing Number HRBS-H68-000-H1010-13                                        Rimkus




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                TRN-INV-00570381 -                       Engineering Drawings of Deepwater Horizon: Arrangement of Ventilation
TREX-50224      TRN-INV-00570382                         System for Section & Elevation, Drawing Number HRBS-H68-000-H1080-1            Rimkus

                TRN-INV-00570383 -                       Engineering Drawings of Deepwater Horizon: Arrangement of Ventilation
TREX-50225      TRN-INV-00570384                         System for Section & Elevation, Drawing Number HRBS-H68-000-H1080-2            Rimkus

                TRN-INV-00570377 -                       Engineering Drawings of Deepwater Horizon: Arrangement of Ventilation
TREX-50226      TRN-INV-00570378                         System for Main Deck, El. 41500, Drawing Number HRBS-H68-000-H1060             Rimkus

                TRN-INV-00570379 -                       Engineering Drawings of Deepwater Horizon: Arrangement of Ventilation
TREX-50227      TRN-INV-00570380                         System for Substructure, Drawing Number HRBS-H68-000-H1070                     Rimkus
                                                         Engineering Drawings of Deepwater Horizon: Arrangement of Ventilation
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TREX-50228      TRN-INV-00570376                         H1050                                                                          Rimkus

                TRN-INV-00570373 -                       Engineering Drawings of Deepwater Horizon: Arrangement of Ventilation
TREX-50229      TRN-INV-00570374                         System for Third Deck, El. 34500, Drawing Number HRBS-H68-000-H1040            Rimkus
                TRN-INV-00570342 -                       Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys. For
TREX-50230      TRN-INV-00570343                         Column, Drawing Number HRBS-H68-000-H1030-1                                    Rimkus
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                TRN-INV-00570361 -                       Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys. For
TREX-50232      TRN-INV-00570363                         Column, Drawing Number HRBS-H68-000-H1030-3                                    Rimkus
                TRN-INV-00570364 -                       Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys. For
TREX-50233      TRN-INV-00570365                         Column, Drawing Number HRBS-H68-000-H1030-4                                    Rimkus
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                TRN-INV-00570368 -                       Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys. For
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                TRN-INV-00570371 -                       Engineering Drawings of Deepwater Horizon: Arr’t. of Ventilation Sys. For
TREX-50236      TRN-INV-00570372                         Column, Drawing Number HRBS-H68-000-H1030-7                                    Rimkus
                TRN-INV-00570344 -                       Engineering Drawings of Deepwater Horizon: Arr’t of Ventilation Sys. For
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                TRN-INV-00570350 -                       Engineering Drawings of Deepwater Horizon: Arr’t of Ventilation Sys. For
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                TRN-INV-00570352 -                       Engineering Drawings of Deepwater Horizon: Arr’t of Ventilation Sys. For
TREX-50241      TRN-INV-00570354                         Pontoon, Drawing Number HRBS-H68-000-H1020-5                                  Rimkus
                TRN-INV-00570355 -                       Engineering Drawings of Deepwater Horizon: Arr’t of Ventilation Sys. For
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                TRN-INV-00572054 -                       Engineering Drawings of Deepwater Horizon: Piping Plan Drill Floor Above
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                TRN-INV-00572018 -                       Engineering Drawings of Deepwater Horizon: Piping Plan Main Deck El.
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TREX-50270                                              Rev. 4                                                                      Rimkus
                                                        Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                                                        High Pressure Mud System, Drawing Number HRBS-P78-000-P0032-4,
TREX-50271                                              Rev. 4                                                                      Rimkus

                                                        Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
TREX-50272                                              Mud Return System, Drawing Number HRBS-P78-000-P0045-1, Rev. 4              Rimkus

                                                        Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
TREX-50273                                              Mud Return System, Drawing Number HRBS-P78-000-P0045-2, Rev. 4              Rimkus

                                                        Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
TREX-50274                                              Mud Return System, Drawing Number HRBS-P78-000-P0045-3, Rev. 4              Rimkus

                                                        Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
TREX-50275      TRN-INV-03408157                        Choke and Kill System, Drawing Number HRBS-P78-000-P0047-1, Rev. 3          Rimkus

                                                        Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
TREX-50276                                              Choke and Kill System, Drawing Number HRBS-P78-000-P0047-2, Rev. 3          Rimkus

                                                        Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
TREX-50277                                              Choke and Kill System, Drawing Number HRBS-P78-000-P0047-3, Rev. 3          Rimkus
                                                        Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                                                        Choke and Kill System Sea Water Service System Lower Hull - Port FWD,
TREX-50278                                              HRBS-P78-000-P0023-1, Rev. 2                                                Rimkus




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                                                         Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                TRN-INV-00578716 -                       Choke and Kill System Sea Water Service System Lower Hull - Port FWD,
TREX-50279      TRN-INV-00578717                         HRBS-P78-000-P0023-2, Rev. 2                                              Rimkus
                                                         Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                TRN-INV-00578718 -                       Choke and Kill System Sea Water Service System Lower Hull - Port FWD,
TREX-50280      TRN-INV-00578719                         HRBS-P78-000-P0023-3, Rev. 2                                              Rimkus
                                                         Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                TRN-INV-00578720 -                       Choke and Kill System Sea Water Service System Lower Hull - Port FWD,
TREX-50281      TRN-INV-00578721                         HRBS-P78-000-P0023-4, Rev. 2                                              Rimkus
                                                         Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                TRN-INV-00578722 -                       Choke and Kill System Sea Water Service System Lower Hull - Port FWD,
TREX-50282      TRN-INV-00578723                         HRBS-P78-000-P0023-5, Rev. 2                                              Rimkus
                                                         Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                TRN-INV-00578724 -                       Choke and Kill System Sea Water Service System Lower Hull - Port FWD,
TREX-50283      TRN-INV-00578725                         HRBS-P78-000-P0023-6, Rev. 2                                              Rimkus
                                                         Engineering Drawings of Deepwater Horizon: Piping & Instrument Diagram
                TRN-INV-00578726 -                       Choke and Kill System Sea Water Service System Lower Hull - Port FWD,
TREX-50284      TRN-INV-00578727                         HRBS-P78-000-P0023-7, Rev. 2                                              Rimkus
                                                         Engineering Drawings of Deepwater Horizon: Mark 2 Control POD TOP
TREX-50285      CAM_CIV_0022734                          Assembly, Drawing Number SK-122108-21-04, Sheet 1 of 2                    Rimkus
                                                         Engineering Drawings of Deepwater Horizon: Mark 2 Control POD TOP
TREX-50286      CAM_CIV_0022735                          Assembly, Drawing Number SK-122108-21-04, Sheet 2 of 2                    Rimkus
                TRN-INV-00345955 -                       Engineering Drawings of Deepwater Horizon: Flow Diagram Mark 2 Control
TREX-50287      TRN-INV-00345956                         POD, Drawing Number SK-122108-21-05, Sheet 1 of 3                         Rimkus
                TRN-INV-00345957 -                       Engineering Drawings of Deepwater Horizon: Flow Diagram Mark 2 Control
TREX-50288      TRN-INV-00345958                         POD, Drawing Number SK-122108-21-05, Sheet 2 of 3                         Rimkus
                TRN-INV-00345959 -                       Engineering Drawings of Deepwater Horizon: Flow Diagram Mark 2 Control
TREX-50289      TRN-INV-00345960                         POD, Drawing Number SK-122108-21-05, Sheet 3 of 3                         Rimkus
                                                         Engineering Drawings of Deepwater Horizon: Stack Flow Diagram,
TREX-50290      TRN-INV-00030739                         Drawing Number SK-122124-21-05, Sheet 1 of 3                              Rimkus
                                                         Engineering Drawings of Deepwater Horizon: Stack Flow Diagram,
TREX-50291      TRN-INV-00030740                         Drawing Number SK-122124-21-05, Sheet 2 of 3                              Rimkus
                                                         Engineering Drawings of Deepwater Horizon: Stack Flow Diagram,
TREX-50292      TRN-INV-00030741                         Drawing Number SK-122124-21-05, Sheet 3 of 3                              Rimkus




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                                                         Engineering Drawings of Deepwater Horizon: Shear Ram Kit, Drawing
TREX-50293      TRN-INV-00030738                         Number SK-122-619-21-05                                                Rimkus
                TRN-MDL-00488950
                TRN-MDL-00491660 -
                TRN-MDL-00491661
                TRN-MDL-00491690 -
TREX-50294      TRN-MDL-00491691              6/21/10    Transocean Investigation Team Interview of Paul Meinhart               Rimkus
                TRN-MDL-00488950
                TRN-MDL-00489710
                TRN-MDL-00493079 -
                TRN-MDL-00493080 -
TREX-50295      TRN-MDL-00493082              5/20/10    Transocean Investigation Team Interview of Jimmy Harrell               Rimkus
                TRN-MDL-00488950
                TRN-MDL-00493745 -
TREX-50296      TRN-MDL-00493746              5/28/10    Transocean Investigation Team Interview of Mark Ezell                  Rimkus
                TRN-MDL-00488950
                TRN-MDL00491728
                TRN-MDL00491741 -
TREX-50297      TRN-MDL00491742               6/2/10     Transocean Investigation Team Interview of Patrick Morgan              Rimkus
                TRN-MDL-00488950
                TRN-MDL-00492277 -
                TRN-MDL-00492278
                TRN-MDL-00492282 -
TREX-50298      TRN-MDL-00492284              6/2/10     Transocean Investigation Team Interview of Buddy Trahan                Rimkus
                TRN-MDL-00488950
                TRN-MDL-00491744 -
                TRN-MDL-00491745
                TRN-MDL-00491780 -
TREX-50299      TRN-MDL-00491782              6/30/10    Transocean Investigation Team Interview of Chad Murray                 Rimkus
                TRN-MDL-00488950
                TRN-MDL-00490943 -
                TRN-MDL-00490944
                TRN-MDL-00490971 -
TREX-50300      TRN-MDL-00490972              6/21/10    Transocean Investigation Team Interview of James Ingram                Rimkus




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                TRN-MDL-00488950
                TRN-MDL-00493652 -
TREX-50301      TRN-MDL-00493653             7/19/10    Transocean Investigation Team Interview of Joseph Evans              Rimkus
                TRN-MDL-00488950
                TRN-MDL-00490859 -
                TRN-MDL-00490860
                TRN-MDL-00490869 -
TREX-50302      TRN-MDL-00490870             5/28/10    Transocean Investigation Team Interview of Caleb Holloway            Rimkus
                TRN-MDL-00488950
                TRN-MDL-00491322 -
TREX-50303      TRN-MDL-00491323             6/2/10     Transocean Investigation Team Interview of Yancy Keplinger           Rimkus
                TRN-MDL-00488950
                TRN-MDL-00493495 -
TREX-50304      TRN-MDL-00493497             6/24/10    Transocean Investigation Team Interview of Andrea Fleytas            Rimkus
                TRN-MDL-00488950
                TRN-MDL-00491962
                TRN-MDL-00491993 -
                TRN-MDL-00491994
                TRN-MDL-00491999 -
TREX-50305      TRN-MDL-00492000             5/20/10    Transocean Investigation Team Interview of Christopher Pleasant      Rimkus
                TRN-MDL-00488950
                TRN-MDL-00492529 -
                TRN-MDL-00492530
                TRN-MDL-00492532 -
TREX-50306      TRN-MDL-00492533             6/1/10     Transocean Investigation Team Interview of David Young               Rimkus
TREX-50307      BP-HZN-MBI00129622           5/4/10     “Bly” Investigation Interview of Brandon Boullioun                   Rimkus
                TRN-MDL-00488950
                TRN-MDL-00491192
TREX-50308      TRN-MDL-00491214             6/1/10     Transocean Investigation Team Interview of Cole Jones                Rimkus
                TRN-MDL-00488950
                TRN-MDL-00491699 -
                TRN-MDL-00491701
                TRN-MDL-00491704
                TRN-MDL-00491718 -
TREX-50309      TRN-MDL-00491720             6/16/10    Transocean Investigation Team Interview of Heber Morales             Rimkus



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                TRN-MDL-00488950
                TRN-MDL-00490153
                TRN-MDL-00490164 -
TREX-50310      TRN-MDL-00490165              6/17/10    Transocean Investigation Team Interview of Kennedy Cola                   Rimkus
                TRN-MDL-00488950
                TRN-MDL-00489774
                TRN-MDL-00489778 -
TREX-50311      TRN-MDL-00489779              7/21/10    Transocean Investigation Team Interview of Joseph Anderson                Rimkus
                                                         International Maritime Organization, Code for the Construction and
TREX-50312                                               Equipment of Mobile Offshore Drilling Units, 2001                         Rimkus
                TRN-INV-00372315 -
TREX-50313      TRN-INV-00372316                         Drawing, Hazardous Area Classification (Above Main Deck Level)            Rimkus
TREX-50314      TRN-INV-00570542                         Drawing, Hazardous Area Classification (Drill Floor)                      Rimkus
TREX-50315      TRN-INV-00372317                         Drawing, Hazardous Area Classification (Main Deck El 41500)               Rimkus
TREX-50316      TRN-INV-00570546                         Drawing, Hazardous Area Classification (Second Deck El 38000)             Rimkus
TREX-50317      TRN-INV-00570548                         Drawing, Hazardous Area Classification (Third Deck El 34500)              Rimkus
TREX-50318      TRN-INV-00570550                         Drawing, Hazardous Classification (Midship Section)                       Rimkus
                                                         Cause & Effect Matrix for Fire/Gas Safety Sys., Drawing Number HRBS-
TREX-50319      TRN-INV-01695276                         I69-000-H-0025, Rev. K                                                    Rimkus
                                                         Kongsberg Simrad, Integrated Automation & Control System, R&B Falcon
TREX-50320      TRN-INV-00195012                         RBS8D, Deepwater Horizon, Rev. 3, 38-42                                   Rimkus
                                                         Engineering Recommendation, Deepwater Horizon — Engine Room
TREX-50321      TRN-MDL-02063282                         Ventilation Controls                                                      Rimkus
TREX-50322                                               Detcon Inc., Calibration Equipment Brochure, Cal Gas Kits                 Rimkus
TREX-50323                                    5/28/09    Transocean, Reptitive Work Order 8709-002757-000©                         Rimkus




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